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                      UNITED STATES COURT OF APPEALS                       FILED
                                FOR THE NINTH CIRCUIT                      SEP 18 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
JESUS EDUARDO HERRERA-MEZA,                       No.   18-70117

                  Petitioner,                     Agency No. A072-153-846

 v.
                                                  ORDER
JEFFERSON B. SESSIONS III, Attorney
General,

                  Respondent.

Before: THOMAS, Chief Judge, W. FLETCHER and CALLAHAN, Circuit
Judges.

         The motion to file a late motion for reconsideration (Docket Entry No. 13) is

granted. The motion for reconsideration of this court’s May 23, 2018 order

(Docket Entry No. 13) is granted. Accordingly, this court’s May 23, 2018 order is

withdrawn.

         The motion for a stay of removal (Docket Entry No. 1) is granted. See Nken

v. Holder, 556 U.S. 418 (2009); Leiva-Perez v. Holder, 640 F.3d 962 (9th Cir.

2011).

         Respondent is hereby directed to return petitioner to the United States under

the same status he held prior to his removal. Respondent is further directed to

provide a status update on petitioner’s return within 14 days after the date of this

order.

KAM/MOATT
                                                                            EXHIBIT D
    Case 1:25-cv-10676-BEM
       Case:                  Document
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     The previously established briefing schedule shall remain in effect.

     Judge Callahan dissents.




KAM/MOATT                               2                                    18-70117
